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UN|TED STATES D|STR|CT COURT
D|STR|CT OF CONNECTICUT

ANDREVV A. DONARUl\/IO 1 No. 3109-Cv-540 (CSH)
V.
BAY AREA CREDIT SERV|CE, LLC August11, 2009

STlPULATlON FOR D|SM|SSAL WlTH PREJUD|CE
The Plaintif'f and Defendant, by and through the undersigned, hereby
stipulate that the above entitled action shall be dismissed with prejudice to

Plaintiff on his complaint and Without costs and/or attorney's fees to any party.

 

 

THE PLA|NT|FF THE DEFENDANT
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By:Joe{nne S. Faulkner(ct04137) lan E Tims (ct27962)
Law Offices of Joanne Faulkner Zeldes, Need|e & Cooper, P.C.
123 Avon Street 1000 Lafayette B|vd., Suite 500
NeW Haven, CT 06511-2422 Bridgeport, CT 06604
Tel. 203-772-0395 Te|: (203) 333-9441
Email: faulknerlawoffice@snet.net Fax: (203) 333-1489

Email: btims@znclaw.com
His Attorney Juris No. 69695

|ts Attorneys

 

